


PER CURIAM: Robert McKoy waived presentment on an indictment for possession 
of a stolen vehicle, pled guilty, and was sentenc



THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE 
  CITED OR RELIED ON AS PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 
  239(d)(2), SCACR. 
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
The State,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Respondent,
      
    
  

v.

  
    
      
Steven Smalls&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Appellant.
      
    
  


Appeal From Cherokee County
Henry F. Floyd, Circuit Court Judge

Unpublished Opinion No. 2004-UP-315
Submitted March 19, 2004  Filed May 13, 2004 


APPEAL DISMISSED


  
    
      
Assistant Appellant Defender Tara S. Taggart, of Columbia, 
  for Appellant.
Attorney General Henry Dargan McMaster, Chief Deputy Attorney 
  General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, 
  all of Columbia; and Solicitor Warren B. Giese, of Columbia, for Respondent.
      
    
  

PER CURIAM:&nbsp; Steven Smalls was indicted 
  for and subsequently found guilty of armed robbery.&nbsp; Smalls appellate counsel 
  submitted a petition to be relieved as counsel, stating he has reviewed the 
  record and has concluded Smalls appeal is without merit.&nbsp; Smalls filed a pro 
  se brief with the court.
After a review of the record as required by Anders 
  v. California, 386 U.S. 738 (1967), and State v. Williams, 305 S.C. 
  116, 406 S.E.2d 357 (1991), we hold there are no directly appealable issues 
  that are arguable on their merits.&nbsp; Accordingly, we dismiss Smalls appeal and 
  grant counsels motion to be relieved. [1] 
 APPEAL DISMISSED.
GOOLSBY, HOWARD and BEATTY, JJ., concur.

 
   [1] &nbsp; 
    Because oral argument would not aid the court in resolving the issues on appeal, 
    we decide this case without oral argument pursuant to Rules 215 and 220(b)(2), 
    SCACR.


